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VIA ECF                                                                      October 16, 2020
                                                     10/17/2020
The Hon. Stewart D. Aaron
United States District Court for the Southern District of New York       Request GRANTED on consent.
500 Pearl St.                                                            SO ORDERED.
New York, NY 10007                                                       Dated: 10/17/2020

       Re:     Allianz, et al. v. Bank of America Corp. et al., 18-cv-10364-LGS
Dear Judge Aaron:
On behalf of all parties in the above-referenced action, we write to request a brief extension of
the deadline to submit the parties’ disputes on search terms. This would move the deadline four
business days from October 16, 2020 to October 22, 2020. Since the Court ordered the October
16 deadline (Dkt. 542), the parties’ conferrals on search terms have been productive, and we
have significantly narrowed the disputes. However, there are a handful of issues that require
further global and bilateral conferrals, and having additional time would benefit the parties and
the Court. This extension would not affect any other currently-scheduled deadline.

Additionally, pursuant to the Court’s order dated October 2, 2020 (Dkt. 542), we write to update
the Court on the status of custodial negotiations. The parties have made significant progress with
regard to custodial negotiations over the past few weeks. Specifically, Plaintiffs can report that
the parties have reached custodian agreements with five Defendants: BNP Paribas, MUFG,
Royal Bank of Scotland, Société Générale and Standard Chartered. This agreement thus moots
the pending motion to compel filed by Plaintiffs against RBS. We also continue to conduct
bilateral negotiations with several defendants, including Credit Suisse, Goldman Sachs and
Royal Bank of Canada. The delta on these negotiations is small, and there is a respectable
chance the parties could reach agreement by the end of next week. As to the remaining
Defendants, the Court has already ruled on Plaintiffs’ motion to compel as to Citi, and there are
currently pending motions to compel or motions for protective order that will need to be decided
as to Bank of America, Barclays, Deutsche Bank, HSBC, JPMorgan, Morgan Stanley, and
UBS.

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1
         Allen & Overy LLP does not represent Defendants BNP Paribas Group, BNP Paribas USA, Inc., BNP
Paribas S.A. and BNP Paribas Securities Corp. with respect to claims by Claimants affiliated with BlackRock, Inc.



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2
          Skadden, Arps, Slate, Meagher & Flom LLP does not represent JPMorgan Chase & Co., JPMorgan Chase
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listed in Appendix C of the complaint.



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                                                             and SG Americas Securities, LLC3




3
        Linklaters LLP does not represent Société Générale or SG Americas Securities, LLC with respect to claims
by BlackRock, Inc. or the BlackRock-related entities listed in Appendix C of the Complaint.



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cc: All counsel of record (via ECF).




4
        Eversheds Sutherland (US) LLP only represents Standard Chartered Bank with respect to claims by
AllianzGI GmbH, the Allianz Entities, PIMCO, and the PIMCO Funds, all as defined in the Complaint.



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